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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF NEVADA

                               RENO, NEVADA


                                           )
UNITED STATES OF AMERICA,                  )      03:05-cr-0033-LRH-VPC
                                           )
                  Plaintiff,               )      MINUTES OF THE COURT
                                           )
      vs.                                  )      February 10, 2006
                                           )
JOSE ARECHIGA-RAMIREZ,                     )
                                           )
             Defendant.                    )
                                           )

THE HONORABLE      Larry R. Hicks        UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:      ROSEMARIE MILLER              REPORTER:      NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                        NONE APPEARING
COUNSEL FOR DEFENDANT(S):                        NONE APPEARING
MINUTE ORDER IN CHAMBERS:

     Before the Court is Defendant’s Motion to Unseal Sealed
Portion of Transcript (#78), and good cause appearing,

     IT IS HEREBY ORDERED that the sealed portions of the
July 25, 2005, Change of Plea hearing (#48) be unsealed.


                                    LANCE S. WILSON, CLERK


                                   By:              /s/
                                                 Deputy Clerk
